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        I                               MISSISSIPPI DELTA COMMUNITY COLLEGI~
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                                             DIVISION OF HEALTH SCIENCES                                               1'1
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                                                     SUBSTANCE USE POLICY                                              'I
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                It is the goal of Mississippi Delta Community College to maintain an environment that is free from i e effects of
        intoxicants or other substances affecting behavior. It is our belief that a substance/drug fre,eenvironment is ; the benefit
        of students and employees of Mississippi Delta Community College as well as the surrounding community. DCC
        Health Sciences has a zero tolerance drug/alcohol policy inclusive of: possession, use, or under the influenc
        MDCC campus or clinical affiliate.
                 Preadmission drug screeni11gis required as a part of the physical exam for all students admitted tot
        Science Programs. A satisfactory drug screen is required for admission. All drug screening will be done in            ner to
        assure verification of an accurate specimen. All students who are tested must be witnessed by an approved . CC
        Official or a staff member of the collecting agency. If there are any discrepancies with the specimen, the s • nt may be
        subject to retesting. If any student(s) is caught falsifying a urine specimen or in possession of a falsified ur· , specimen
        that individual(s) will be immediately re~testedand be subject to disciplinary action by the College and the 'i alth Science
        Department. If a student does not report or refuses drug testing at the designated time, or leaves the drug te I ng area
        without giving a specimen, the test will be considered as a positive test and the student wili be dismissed i ; ediately
        from the program. All prescription medications taken regularly or as needed should be listed on the medica j arm. The
        student must notify and provide written proof of any medications which may affect behavior to the progrru~IR!Jirector.
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                 Random and/or group drug screening may take place each semester. Any person in the role of a st                ntin a
        Health Science Program who exhibits sensory symptoms or behavior indicative of being under the influenc                 fmind
        altering substances (reasonable suspicion exists) may be required to have a drug and/or alcohol screening p        •
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        immediately. The student will be suspended pending test results. Refusal by a student to participate in ad              screening is
        in violation of the established policy and will result in dismissal.                                               ;i
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                If any drug screening is positive, the student is dismissed immediately from the program. Any drug              ening,
        whether it is done for employment purposes, law enforcement purposes or school purposes, that is positive          , •ing the
        period of time the student is enrolled in the Health Science program, the student will be dismissed immedia        iiy from the
        program. The student will be given an opportunity to meet with the ADN Chair and the Dean of Health Sc             : ce. The
        student may be considered for probationary readmission (ONE time on~) following completion of a chemi              / dependency
        program approved by the Health Science Program at the student's expense. If probationary readmittance is           .: nted, after-
        care monitoring will be required for the duration of the course of study at the studenf s expense.                 Ii


                 Drug testing procedures will be carried out at the direction of the Vice President of Student Service d the
        laboratory personnel conducting the screening. Testing may be in the form of urine testing or hair sampling deemed
        necessary by the Vice President of Student Services in consultation with the collecting agency. Lab results •e submitted
        directly from the lab to the Vice President of Student Services. The Vice President of Student Services sen ' notification
        of drug testing results to the Dean of Health Science or AON Chair. Results are confidential and will be pl .: din the
        student's file.                                                                                               I
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                I, __________                      , have read and understand the substance use policy of M" 1ssippi Delta
        Community College. I grant permission for drug and alcohol testing of myself and acknowledge consent b j. is signature
        affixed hereto. I grant permission for the laboratory facility to release lab results to Mississippi Delta Co ~ ity College.

               I understand that I am responsible for providing written documentation from my physician regar i g controlled
        substances that I am talcingthat could be positively identified in a drug profile.                    •


         Student Signature                                                                        Date


         Signatureof Parent/Guardian(if under age of 18)                                          Date
